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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
        MATTHEW D. VAN STEENWYK,               Case No. 2:20-cv-02375-FLA (AFMx)
  11    Individually, as Trustee and
  12    Beneficiary of The Matthew Van         Hon. Fernando L. Aenlle-Rocha
        Steenwyk Gst Trust And The
  13    Matthew Van Steenwyk Issue Trust,      ORDER GRANTING REQUEST TO
  14    And As Co-Trustee Of The Gretchen      CONTINUE PRETRIAL
        Marie Van Steenwyk-Marsh Gst           DEADLINES [DKT. 129]
  15    Trust And The Gretchen Marie Van
        Steenwyk-Marsh Issue Trust and
  16    derivatively on behalf of Defendants
  17    APPLIED TECHNOLOGIES
        ASSOCIATES, INC., and ATA
  18    RANCHES, INC.,
  19
                        Plaintiff,
  20
                 v.
  21
  22    KEDRIN E. VAN STEENWYK, et
        al.,
  23
  24                    Defendants,
        and
  25
        APPLIED TECHNOLOGIES
  26    ASSOCIATES, INC., and ATA
  27    RANCHES, INC.,
  28                    Nominal Defendants.
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   1           Having reviewed the Parties’ Stipulation and Request to Continue Pretrial
   2   Deadlines (the “Stipulation”), and FOR GOOD CAUSE SHOWN, the court
   3   HEREBY ORDERS that the Parties’ Stipulation is approved.
   4           IT IS HEREBY ORDERED THAT:
   5   CURRENT DATE                                 REQUESTED DATE
   6   Settlement Conference: April 8, 2021         Settlement Conference: June 3, 2021
   7   Discovery Cut-Off: April 8, 2021             Discovery Cut-Off: June 3, 2021
   8   Expert Witness Disclosures: April 22,        Expert Witness Disclosures: June 17,
   9   2021                                         2021

  10   Rebuttal Expert Witness Disclosures:         Rebuttal Expert Witness Disclosures:
       May 22, 2021                                 July 17, 2021
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       Expert Discovery: June 22, 2021              Expert Discovery: August 17, 2021
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       Motion Cut-Off: July 22, 2021                Motion Cut-Off: September 17, 2021
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          1.      The settlement conference deadline currently set for April 8, 2021, is
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                  continued to June 3, 2021.
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          2.      The discovery cut-off date is continued from April 8, 2021, to June 3,
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                  2021.
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          3.      The deadline for expert witness disclosures is continued from April 22,
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                  2021, to June 17, 2021.
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          4.      The deadline for rebuttal expert witness disclosures is continued from
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                  May 22, 2021, to July 17, 2021.
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          5.      The expert discovery cut-off date is continued from June 22, 2021, to
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                  August 17, 2021.
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          6.      The motion cut-off date is continued from July 22, 2021, to September
  24
                  17, 2021.
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          IT IS SO ORDERED.
  26
       Dated: March 18, 2021
  27
                                               FERNANDO L. AENLLE-ROCHA
  28                                           United States District Judge
